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                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                  Charlottesville Division


   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, APRIL MUÑIZ, MARCUS
   MARTIN, NATALIE ROMERO, CHELSEA
   ALVARADO, JOHN DOE, and THOMAS
   BAKER,                                                     Civil Action No. 3:17-cv-00072-NKM
                                  Plaintiffs,                     JURY TRIAL DEMANDED

          v.
   JASON KESSLER, et al.,
                                  Defendants.



         RESPONSE TO DEFENDANT CANTWELL’S MOTION FOR LEAVE TO
        SUPPLEMENT DEFENDANT’S EXHIBIT LIST AND DISCLOSURE OF THE
           TRANSCRIPT OF THE AUGUST 11, 2017 LEADERSHIP MEETING

          Plaintiffs do not oppose to Defendant Cantwell’s motion for leave to supplement his exhibit

   list (ECF No. 1126). Plaintiffs reserve the right however to raise objections to any additional

   exhibits added to Cantwell’s supplemented exhibit list, including but not limited to the transcript

   of the August 11, 2017, leadership meeting.



     Date: October 11, 2021                            Respectfully submitted,

                                                       /s/ Jessica Phillips
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                                     CERTIFICATE OF SERVICE

   I hereby certify that on October 11, 2021, I filed the foregoing with the Clerk of Court through
   the CM/ECF system, which will send a notice of electronic filing to:

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           I hereby certify that on October 11, 2021, I also served the following non-ECF participants via
   mail or electronic mail:

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    Dated: October 11, 2021


                                                           /s/ Jessica Phillips

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